
DAUKSCH, J.
This is an appeal from a restitution order in a delinquency case. The juvenile appellant and several accomplices burglarized a home and in attempting to hot wire a car in the garage, started a fire. The appellant, joined by his parents, attacks the statute, section 985.231(1)(a)(9), Florida Statutes (1998), asserting it is unconstitutional. Although the trial court was never given the opportunity to rule on this issue because it was not raised below, we are not persuaded it is unconstitutional. The requirement that the burglars and their parents pay for the damage caused is rational, serves a legitimate governmental purpose and is not at all unclear in its wording and intent.
Appellants also raise as error the trial court’s admitting hearsay evidence in support of the state’s submissions on the amount of the damages. Because they did not object to its admission they cannot have us fault the trial judge. Finally, an issue as to the ability to pay the damages is raised. The evidence shows the appellants have the ability, each of them, to make the money to pay the damages over time.
Due to a scrivener’s error, the amount assessed against the juveniles and the amount assessed against the parents were reversed in the order. Thus, the case is remanded for entry of a new order to correct this conceded error.
Order AFFIRMED in substance, REMANDED for correction of scrivener’s error.
W. SHARP and PETERSON, JJ., concur.
